                                                                               Case 3:17-cv-00939-WHA Document 2260 Filed 11/22/17 Page 1 of 1



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                                                                          5                               IN THE UNITED STATES DISTRICT COURT
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                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                          8
                                                                          9   WAYMO LLC,                                                    No. C 17-00939 WHA
                                                                         10                  Plaintiff,
                                                                         11
United States District Court




                                                                                v.
                                                                         12
                               For the Northern District of California




                                                                              UBER TECHNOLOGIES, INC.;                                      NOTICE RE LETTER FROM
                                                                         13   OTTOMOTTO LLC; and OTTO                                       UNITED STATES ATTORNEY
                                                                              TRUCKING LLC,
                                                                         14                  Defendants.
                                                                         15                                               /

                                                                         16          Today, the Court received the letter appended as Exhibit A from the United States
                                                                         17   Attorney regarding this case. This letter shall be kept under seal until further order of the Court.
                                                                         18
                                                                         19          IT IS SO ORDERED.
                                                                         20
                                                                         21   Dated: November 22, 2017.
                                                                         22                                                             WILLIAM ALSUP
                                                                                                                                        UNITED STATES DISTRICT JUDGE
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